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 6 Attorneys for Defendants, CITY OF LOS ANGELES and LOS ANGELES
   POLICE DEPARTMENT
 7
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11    YVONNE LYNN OTTAVIANO, an                   CASE NO.
      Individual; and ALBERT DONNAY,
12    an individual;
                                                  LASC CASE NO. 22STCV06856
                                                  [Action Filed: February 24, 2022]
13
                        Plaintiff,                [Assigned: Hon. Barbara M. Scheper
14                                                Dept. 30]
              vs.
15
      CITY OF LOS ANGELES, a Public               NOTICE OF REMOVAL OF
16                                                ACTION UNDER 28 U.S.C. §§ 1441
      Entity; LOS ANGELES POLICE                  (a) and 1446 (a); DECLARATION
17    DEPARTMENT, a Public Entity; and            OF JAMES V. BILEK; AND
      DOE OFFICERS 1-10;                          SUPPORTING EXHIBITS
18
19                      Defendants.

20
21
22 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
23     PLEASE TAKE NOTICE that Defendants CITY OF LOS ANGELES and
24 LOS ANGELES POLICE DEPARTMENT (“CITY DEFENDANTS”), hereby
25 remove this action from the Superior Court for the State of California, County of Los
26 Angeles to the United States District Court for the Central District of California. The
27 removal is made pursuant to 28 U.S.C. § 1446(a), on the facts set forth below:
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 1         1.     The CITY DEFENDANTS are named defendants in this civil action
 2 filed in the Superior Court of the State of California, County of Los Angeles entitled
 3 Yvonne Lynn Ottaviano, et al. vs. City of Los Angeles, et al., Superior Court Case No.
 4 22STCV06856 (hereinafter “Plaintiffs’ Complaint”). Plaintiffs filed their Complaint
 5 on February 24, 2022. The following are true and correct copies of the State Court
 6 documents in the above action with referenced exhibit numbers: Plaintiffs’ Complaint
 7 (Exhibit 1); Summons (Exhibit 2); Civil Case Cover Sheet (Exhibit 3); Civil Case
 8 Cover Sheet Addendum and Statement of Location (Exhibit 4); Notice of Case
 9 Assignment – Unlimited Civil Case (Exhibit 5); Notice of Case Management
10 Conference (Exhibit 6); First Amended General Order (Exhibit 7); General Order Re
11 Use of Voluntary Efficient Litigation Stipulations (Exhibit 8); Voluntary Efficient
12 Litigation Stipulations (Exhibit 9); Stipulation - Discovery Resolution (Exhibit 10);
13 Informal Discovery Conference (Exhibit 11); Stipulation - Early Organizational
14 Meeting (Exhibit 12); Stipulation and Order - Motions in Limine (Exhibit 13);
15 Alternative Dispute Resolution (ADR) Information Package (Exhibit 14); Proof of
16 Service of Summons – City of Los Angeles (Exhibit 15); and Proof of Service of
17 Summons – Los Angeles Police Department (Exhibit 16).
18         2.     This action meets the original jurisdiction requirements of 28 USC §
19 1441(a) and is removable by CITY DEFENDANTS pursuant to 28 USC § 1446(a).
20 A case is removable from state to federal court if the action could have been
21 originally commenced in federal court. 28 USC § 1441(a); Grubbs v. General
22 Electric Credit Corp., 405 US 699, 702 (1972). The propriety of removal is
23 determined at the time the petition for removal is filed by reference to the plaintiff’s
24 complaint filed in state court. La Chemise Lacoste v. Alligator Co., 506 F.2d 339,
25 343-44 (3d Cir. 1974). When the complaint states a claim invoking the original
26 jurisdiction of the federal court, the action is removable. Id. Under the Judicial
27 Code, federal district courts have original jurisdiction in the district courts over all
28 actions brought under 42 USC § 1983. See 28 USC § 1343(a)(3). Moreover, the

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 1 Code confers original jurisdiction in the district courts over all actions involving
 2 federal questions. See 28 USC § 1331.
 3         3.    The gravamen of this action is the federal civil rights claims set forth in
 4 the first, second and third causes of action of Plaintiffs’ Complaint.
 5         4.    A state law claim is also asserted in the fourth cause of action of
 6 Plaintiffs’ Complaint. When an action originally filed in state court is removed to
 7 federal court, the federal tribunal has jurisdiction to determine not only the federal
 8 claims but all pendent state claims “that are so related to claims in the action . . . that
 9 they form part of the same case or controversy . . . .” See 28 USC § 1367(a).
10         5.    The CITY OF LOS ANGELES and the LOS ANGELES POLICE
11 DEPARTMENT were served with Plaintiffs’ Complaint on March 11, 2022, and
12 consent to this removal. (See Declaration of James V. Bilek).
13         6.    Further, other than those persons identified above and the persons
14 identified in the caption as “DOE OFFICERS 1-10” there are no other named
15 defendants in this lawsuit. Therefore, there are no other defendants who need to
16 consent in order for this case to be removed. (See Declaration of James V. Bilek).
17         7.    The Notice of Removal is filed with this Court within 30 days after the
18 CITY OF LOS ANGELES and the LOS ANGELES POLICE DEPARTMENT were
19 served with Plaintiffs’ Complaint on March 11, 2022. (See Declaration of James V.
20 Bilek).
21         8.    The Notice of Removal is being filed in this Court and in the Superior
22 Court of the State of California, County of Los Angeles.
23           WHEREFORE, the above-entitled action, now pending in the Superior Court
24 of the State of California, County of Los Angeles, is removed to the United States
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 1 District Court for the Central District of California.
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     Dated:   April 8, 2022       Respectfully submitted,
 3
 4             MICHAEL N. FEUER, City Attorney
               SCOTT MARCUS, Chief Assistant City Attorney
 5             CORY M. BRENTE, Senior Assistant City Attorney

 6
               By: _/s/ James V. Bilek___________________________________
 7
                   JAMES V. BILEK, Deputy City Attorney
 8
               Attorneys for Defendants, CITY OF LOS ANGELES and LOS
 9             ANGELES POLICE DEPARTMENT
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 1                        DECLARATION OF JAMES V. BILEK
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 3          I, JAMES V. BILEK, do hereby declare that I have personal knowledge of
 4 the facts set forth herein and that if called as a witness in this case, I could and would
 5 competently testify as follows:
 6         1.      I am a Deputy City Attorney for the City of Los Angeles. In that
 7 capacity, I have been assigned to assist in representing Defendants CITY OF LOS
 8 ANGELES and LOS ANGELES POLICE DEPARTMENT in the case of Yvonne
 9 Lynn Ottaviano, et al. vs. City of Los Angeles, et al., Superior Court Case No.
10 22STCV06856, now pending in the Los Angeles Superior Court.
11         2.    The following are true and correct copies of the State Court documents
12 in the above action with referenced exhibit numbers: Plaintiffs’ Complaint (Exhibit
13 1); Summons (Exhibit 2); Civil Case Cover Sheet (Exhibit 3); Civil Case Cover Sheet
14 Addendum and Statement of Location (Exhibit 4); Notice of Case Assignment –
15 Unlimited Civil Case (Exhibit 5); Notice of Case Management Conference (Exhibit
16 6); First Amended General Order (Exhibit 7); General Order Re Use of Voluntary
17 Efficient Litigation Stipulations (Exhibit 8); Voluntary Efficient Litigation
18 Stipulations (Exhibit 9); Stipulation - Discovery Resolution (Exhibit 10);
19 Informal Discovery Conference (Exhibit 11); Stipulation - Early Organizational
20 Meeting (Exhibit 12); Stipulation and Order - Motions in Limine (Exhibit 13);
21 Alternative Dispute Resolution (ADR) Information Package (Exhibit 14); Proof of
22 Service of Summons – City of Los Angeles (Exhibit 15); and Proof of Service of
23 Summons – Los Angeles Police Department (Exhibit 16).
24          3.     The CITY OF LOS ANGELES and the LOS ANGELES POLICE
25 DEPARTMENT were served with Plaintiffs’ Complaint on March 11, 2022, and
26 consent to this removal. Attached hereto as Exhibits 17 and 18 are true and correct
27 copies of the Summons served on Defendants CITY OF LOS ANGELES and LOS
28 ANGELES POLICE DEPARTMENT.

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 1          4.    Further, other than those persons identified above and the persons
 2 identified in the caption as “DOE OFFICERS 1-10” there are no other named
 3 defendants in this lawsuit. Therefore, there are no other defendants who need to
 4 consent in order for this case to be removed.
 5          5.    The Notice of Removal is filed with this Court within 30 days after the
 6 CITY OF LOS ANGELES and the LOS ANGELES POLICE DEPARTMENT were
 7 served with Plaintiffs’ Complaint on March 11, 2022.
 8          6.    The Notice of Removal is being filed in this Court and in the Los
 9 Angeles Superior Court.
10          I declare under penalty of perjury pursuant to the laws of the United States of
11 America that the foregoing is true and correct.
12          Executed on April 6th, 2022, at Los Angeles, California.
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14                            _/s/ James V. Bilek_____________________________
15                            JAMES V. BILEK, Declarant
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 1                                 PROOF OF SERVICE
 2             STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
          I am employed in the County of Los Angeles, California. I am over the age of
   18  and not a8a� to the within action; m__y business address is: Office of the City
 4 Attorney,  20 N. Main Street, City Hall East, 6th Floor, Los Angeles, CA 90012.
 5                  t
          On ARril 202� I served CQQ!es of the following_document(s) described as:
   NOTICE OF RJ!,MOv;AL OF AC"TION UNDER 2811.S.C. §§ 1441 (a) and 1446
 6 (a); DECLARATION OF JAMES V. BILEK; AND SUPPORTING 'EXHIBITS
   on the interested party(ies) in this action as follows:
 7
                            SEE ATTACHED SERVICE LIST
 8
   [Xl BY MAIL: By placing a true copy thereof enclosed in a sealed envelq_pe(s)
 9 addressed as above ana placing each for collection and mailing on that date following
   ordinary business practices. I am "readily familiar" with this 5usiness's Rractice for
1O collecting and processing correspondence for mailing. On the same day that
   correspondence is placed for col1ection and mailing, 1t is deposited in the ordinary
11 course of business with the U.S. Postal Service in Los Angeles, California, in a sealed
   envelope with postage fully prepaid.
12
   r ] . STATE: I declare.unqer penalty of perjury under the laws of the State of
13 California that the foregoing 1s true ana correct.
   [Xl FEDERAL: I hereby certify that I am employed in the office of a member
14 of the Bar of this Court at whose direction the service was made. I hereby certify
   under the penalty of perjury that the foregoing is true and correct.
15
          Executed on this 8th day of April, 2022 at Los Angeles, California.
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     Case 2:22-cv-02384-DMG-AGR Document 1 Filed 04/08/22 Page 8 of 8 Page ID #:8




 I                                 SERVICE LIST
 2
      Ben Meiselas, Esq.
 3    Daniel TaRetillo, Esq.
      GERAGOS & GERAGOS, APC
 4    Historic Engine Co. No. 28
      644 S. Figueroa St.
 5    Los Angeles, CA 90017-3411
      Telephone: (213) 625-3900
 6    Facsimile: (213 232-3255
      Email: era os era os.com
 7
     Attorneys for Plaintiff, YVONE LYNN OTTAVINO
 8
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   Attorney for Plaintiff, ALBERT DONNAY
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